         Case 6:18-cv-06776-DGL Document 8 Filed 12/03/18 Page 1 of 1




 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 Ruby Belton, M.D.,

                            Plaintiff,               NOTICE OF APPEARANCE
                  v.
                                                     Civil Action No.: 18-cv-06776-DGL
 Borg & Ide Imaging, P.C. and Radnet, Inc.,

                            Defendants.



       PLEASE TAKE NOTICE of the appearance of Mary Jo S. Korona, Esq. as counsel

to Radnet, Inc.


 Dated: December 3, 2018                    LECLAIR KORONA COLE LLP


                                             /s/ Mary Jo S. Korona
                                            Mary Jo S. Korona, Esq.
                                            Stacey E. Trien, Esq.
                                            Attorneys for Defendant: Borg & Ide Imaging, P.C.
                                            And Radnet, Inc.
                                            28 E. Main Street, Suite 1500
                                            Rochester, New York 14614
                                            Telephone: (585) 327-4100
                                            Facsimile:     (585) 327-4200
                                            E-mail: mkorona@leclairkorona.com
                                                     strien@leclairkorona.com

 TO:    TREVETT CRISTO, P.C.
        Lucinda Lapoff, Esq.
        Attorneys for Plaintiff
        Two State Street, Suite 1000
        Rochester, New York 14614
        Telephone: (585) 454-2181
        Facsimile:      (585) 454-4026
        E-mail: clapoff@trevettcristo.com
